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                             UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                219 SOUTH DEARBORN STREET
                                   CHICAGO, ILLINOIS 60604

THOMAS G. BRUTON
      CLERK                                                                       312-435-6860




                                                   October 4, 2021


  In re: Arriaga et al v. Wells Fargo Bank, NA et al, Case No. 09 CV 02115

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Dear Litigants and Counselors,

I have been contacted by Judge Charles R. Norgle, Sr, who presided over the above-mentioned
case.

Judge Norgle informed me that it has been brought to his attention that while he presided over
the case, he owned stock in Wells Fargo & Company. His ownership of stock neither affected
nor impacted his decisions in this case. However, his stock ownership would have required
recusal under the Code of Conduct for United States Judges, and thus, Judge Norgle directed
that I notify the parties of the conflict.

Advisory Opinion 71, from the Judicial Conference Codes of Conduct Committee, provides the
following guidance for addressing disqualification that is not discovered until after a judge has
participated in a case:

               [A]judge should disclose to the parties the facts bearing on
               disqualification as soon as those facts are learned, even though that
               may occur after entry of the decision. The parties may then
               determine what relief they may seek, and a court (without the
               disqualified judge) will decide the legal consequence, if any, arising
               from the participation of the disqualified judge in the entered
               decision.

       Although Advisory Opinion 71 contemplated disqualification after a Court of Appeals oral
argument, the Committee explained “[s]imilar considerations would apply when a judgment was
entered in a district court by a judge and it is later learned that the judge was disqualified.”

       With Advisory Opinion 71 in mind, you are invited to respond to Judge Norgle’s
disclosure of a conflict in this case. Should you wish to respond, please submit your response
on or before October 18, 2021. Any response will be considered by another judge of this court
without the participation of Judge Norgle.

                                                     Sincerely,



                                                     Thomas G. Bruton
                                                     Clerk of Court
